USCA Case #23-3061    Document #2095561      Filed: 01/22/2025   Page 1 of 4



          UNITED STATES COURT OF APPEALS
        FOR THE DISTRICT OF COLUMBIA CIRCUIT
                 _________________________

                             No. 23-3061
                      _________________________


UNITED STATES OF AMERICA,                                         Appellee,

           v.

PATRICK EDWARD MCCAUGHEY, III,                                   Appellant.


      A PPELLEE ’ S U NOPPOSED M OTION T O V ACATE
       C ONVICTIONS AND R EMAND F OR D ISMISSAL

     Pursuant to the Executive Order issued by President Donald J.

Trump dated January 20, 2025, Granting Pardons and Commutation of

Sentences for Certain Offenses Relating to the Events at Or Near the

United States Capitol on January 6, 2021, the United States moves this

Court to vacate the defendant’s convictions and to remand the case to the

district court for dismissal with prejudice pursuant to Federal Rule of

Criminal Procedure 48(a). In support of this motion, the United States

submits as follows:

     1. In the Executive Order issued on January 20, 2025, President

        Trump has directed the Attorney General to pursue dismissal
USCA Case #23-3061   Document #2095561       Filed: 01/22/2025   Page 2 of 4



       with prejudice of all pending cases against individuals for their

       conduct related to the events at or near the United States Capitol

       on January 6, 2021.

     2. The United States respectfully submits that Rule 48(a) provides

       the appropriate procedural mechanism to accomplish the

       dismissal directed by the Executive Order. See, e.g., United

       States   v.   Watts,   422   U.S.   1032,   1032   (1975)    (“Upon

       representation of the Solicitor General set forth in his brief for

       the United States filed May 2, 1975, judgment vacated, and case

       remanded to the United States District Court for the Northern

       District of Georgia to permit the Government to dismiss charges

       against petitioner.”); Bronsozian v. United States, No. 19-6220,

       2020 WL 1906543, at *1 (U.S. Apr. 20, 2020) (“Judgment

       vacated, and case remanded to the United States Court of

       Appeals for the Ninth Circuit for further consideration in light

       of the pending application to vacate the judgment and dismiss

       the indictment.”); United States v. Burdeau, 168 F.3d 352, 359

       (9th Cir. 1999) (“Under Federal Rule of Criminal Procedure

       48(a), the government has the power to move to dismiss any


                                    2
USCA Case #23-3061    Document #2095561       Filed: 01/22/2025   Page 3 of 4



        count of the indictment as long as the defendant’s appeal is

        pending and the decision is therefore not final.”).

     3. Dennis Boyle, Esq., the defendant’s attorney, has indicated that

        he does not oppose this motion.


                              Conclusion

     WHEREFORE, the United States respectfully requests that this

Court enter an order vacating the defendant’s convictions and remanding

the case to the district court for dismissal under Federal Rule of Criminal

Procedure 48(a).

                                  Respectfully submitted,

                                  E DWARD R. M ARTIN , J R .
                                  United States Attorney

                                                   /s/
                                  C HRISELLEN R. K OLB
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                                    3
USCA Case #23-3061     Document #2095561        Filed: 01/22/2025   Page 4 of 4



                     C ERTIFICATE OF S ERVICE

     I HEREBY CERTIFY that I have caused a copy of the foregoing

motion to be served by electronic means, through the Court’s CM/ECF

system,     upon   counsel   for   appellant,   Dennis    E.    Boyle,   Esq.,

dboyle@boylejasari.com, on this 22nd day of January 2025.

                                                     /s/
                                    C HRISELLEN R. K OLB
                                    Assistant United States Attorney


    C ERTIFICATE OF C OMPLIANCE WITH R ULE 27( D )

     I HEREBY CERTIFY pursuant to Fed. R. App. P. 27(d)(2)(A)

that the foregoing motion contains 362 words, and therefore complies

with the type-volume limitation of Fed. R. App. P. 27(d)(2)(A). The motion

was prepared in 14-point Century Schoolbook, a proportionally spaced

typeface.

                                                     /s/
                                    C HRISELLEN R. K OLB
                                    Assistant United States Attorney
